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 Fill in this information to identify the case:

 Debtor 1              Michelle A Caldwell
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                          Southern
 United States Bankruptcy Court for the: ______________________              Ohio
                                                                District of __________
                                                                             (State)
 Case number            3:19-bk-30371
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association as
                   Trustee of the Cabana Series IV Trust
 Name of creditor: _______________________________________                                                           7
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          5393____ ____ ____
                                                         ____                            Must be at least 21 days after date       09        2021
                                                                                                                                   ____/____/_____
                                                                                                                                        01
                                                                                         of this notice


                                                                                         New total payment:                          554.92
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.    Will there be a change in the debtor’s escrow account payment?
       q   No
       q   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             240.68
                   Current escrow payment: $ _______________                           New escrow payment:           154.17
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
       variable-rate account?
       q   No
       q   Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       q   No
       q   Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


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Debtor 1         Michelle A Caldwell
                 _______________________________________________________                                               3:19-bk-30371
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.
    Xq I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle Ghdiotti
     Signature
                                                                                                Date    08/03/2021
                                                                                                        ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti/Berger LLP.
                    _________________________________________________________



 Address            1920 Old Tustin Ave.
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) 427 _________
                             _____– 2010                                                              bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                   323 FIFTH STREET                                                                                                 (800) 603-0836
                   EUREKA CA 95501                                                                           Para Español, Ext. 2660, 2643 o 2772
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                                         Main Office NMLS #5985
                                                                                                                       Branch Office NMLS #9785




               JOSEPH W CALDWELL
               736 GLOUCESTER RD
               TROY OH 45373



Analysis Date: July 23, 2021                                                                                                                             Final
Property Address: 1449 FLEET ROAD TROY, OH 45373                                                                                       Loan:
                                     Annual Escrow Account Disclosure Statement
                                                  Account History

      This is a statement of actual activity in your escrow account from Apr 2021 to Aug 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                   Current:      Effective Sep 01, 2021:                  Escrow Balance Calculation
 Principal & Interest Pmt:                  400.75                  400.75                   Due Date:                                       Dec 01, 2020
 Escrow Payment:                            240.68                  154.17                   Escrow Balance:                                   (3,299.43)
 Other Funds Payment:                          0.00                    0.00                  Anticipated Pmts to Escrow:                        2,166.12
 Assistance Payment (-):                       0.00                    0.00                  Anticipated Pmts from Escrow (-):                       0.00
 Reserve Acct Payment:                         0.00                    0.00                  Anticipated Escrow Balance:                       ($1,133.31)
  Total Payment:                              $641.43                    $554.92


                      Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date           Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                  Starting Balance                    0.00      (3,096.29)
      Apr 2021                          299.21                                  * Escrow Only Payment                 0.00      (2,797.08)
      Apr 2021                          136.14                                  *                                     0.00      (2,660.94)
      Jun 2021                          481.36                                  *                                     0.00      (2,179.58)
      Jun 2021                                                        137.50    * Forced Place Insur                  0.00      (2,317.08)
      Jun 2021                                                        489.53    * County Tax                          0.00      (2,806.61)
      Jul 2021                          240.68                                  *                                     0.00      (2,565.93)
      Jul 2021                          191.22                                  * Escrow Only Payment                 0.00      (2,374.71)
      Jul 2021                                                         53.72    * Forced Place Insur                  0.00      (2,428.43)
      Jul 2021                                                        871.00    * Homeowners Policy                   0.00      (3,299.43)
                                                                                  Anticipated Transactions            0.00      (3,299.43)
      Jul 2021                    1,925.44                                                                                      (1,373.99)
      Aug 2021                      240.68                                                                                      (1,133.31)
                           $0.00 $3,514.73               $0.00     $1,551.75

      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
      our toll-free number.


      Last year, we anticipated that payments from your account would be made during this period equaling 0.00. Under
      Federal law, your lowest monthly balance should not have exceeded 0.00 or 1/6 of the anticipated payment from the
      account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
      silent on this issue.


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Borrower: JOSEPH W CALDWELL                                                                                                        Loan:
                                               Annual Escrow Account Disclosure Statement
                                                      Projections for Coming Year

     This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
     from your account.

       Date              Anticipated Payments                                                                  Escrow Balance
                         To Escrow From Escrow               Description                                 Anticipated      Required
                                                             Starting Balance                             (1,133.31)        462.53
     Sep 2021               154.17                                                                          (979.14)        616.70
     Oct 2021               154.17                                                                          (824.97)        770.87
     Nov 2021               154.17                                                                          (670.80)        925.04
     Dec 2021               154.17                                                                          (516.63)      1,079.21
     Jan 2022               154.17                                                                          (362.46)      1,233.38
     Feb 2022               154.17          489.53           County Tax                                     (697.82)        898.02
     Mar 2022               154.17                                                                          (543.65)      1,052.19
     Apr 2022               154.17                                                                          (389.48)      1,206.36
     May 2022               154.17                                                                          (235.31)      1,360.53
     Jun 2022               154.17                                                                           (81.14)      1,514.70
     Jul 2022               154.17          871.00           Homeowners Policy                              (797.97)        797.87
     Jul 2022                               489.53           County Tax                                   (1,287.50)        308.34
     Aug 2022              154.17                                                                         (1,133.33)        462.51
                        $1,850.04       $1,850.06

    (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
     Your escrow balance contains a cushion of 308.34. A cushion is an additional amount of funds held in your escrow
     balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
     Federal law, your lowest monthly balance should not exceed 308.34 or 1/6 of the anticipated payment from the account,
     unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
     this issue.

     Your ending balance from the last month of the account history (escrow balance anticipated) is (1,133.31). Your starting
     balance (escrow balance required) according to this analysis should be $462.53. This means you have a shortage of 1,595.84.
     This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
     deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.

     We anticipate the total of your coming year bills to be 1,850.06. We divide that amount by the number of payments expected during
     the coming year to obtain your escrow payment.




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Borrower: JOSEPH W CALDWELL                                                                                             Loan:

     New Escrow Payment Calculation
     Unadjusted Escrow Payment                      154.17
     Surplus Amount:                                  0.00
     Shortage Amount:                                 0.00
     Rounding Adjustment Amount:                      0.00
     Escrow Payment:                               $154.17




    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
    payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
    Street, Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                                    CERTIFICATE OF SERVICE
       On August 3, 2021, I served the foregoing documents described as Notice of mortgage payment
change on the following individuals by electronic means through the Court’s ECF program:
COUNSEL FOR DEBTOR
Richard P Arthur
arthurlawoffice@woh.rr.com

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Maben May
                                                          Maben May

       On August 3, 2021, I served the foregoing documents described as Notice of mortgage payment
change on the following individuals by depositing true copies thereof in the United States mail at Santa
Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
DEBTOR
Michelle A Caldwell
1449 Fleet Road
Troy, OH 45373

Trustee
John G. Jansing
Chapter 13 Trustee
131 North Ludlow St
Suite 900
Dayton, OH 45402

U.S. Trustee
Asst US Trustee (Day)
Office of the US Trustee
170 North High Street
Suite 200
Columbus, OH 43215-2417

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                         /s/ Maben May
                                                         Maben May
